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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 PERRY A. FRANKEL, M.D. AND
 ADVANCED CARDIOVASCULAR
 DIAGNOSTICS, PLLC,                                  Civil Action No.: 1:18-cv-06378-
                                                     ER-BCM
                       Plaintiffs,

 v.

 U.S. HEALTHCARE, INC. d/b/a AETNA U.S.
 HEALTHCARE, INC. d/b/a AETNA HEALTH,
 INC., AND AETNA, INC. d/b/a AETNA.

                        Defendants.


                                      PROTECTIVE ORDER

       Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, the Health Insurance

Portability and Accountability Act of 1996, and for good cause, the Court issues this Protective

Order. Unless modified pursuant to the terms contained in this Order, this Order shall remain in

effect through the conclusion of this litigation.

       IT IS ORDERED THAT:

       1.       Scope of Protection

       This Protective Order shall govern any record of information produced in this action and

designated pursuant to this Protective Order, including all designated deposition testimony, all

designated testimony taken at a hearing or other proceeding, all designated deposition exhibits,

interrogatory answers, admissions, documents and other discovery materials, whether produced

informally or in response to interrogatories, requests for admissions, requests for production of

documents or other formal methods of discovery.
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       This Protective Order shall also govern any designated record of information produced in

this action pursuant to required disclosures under any federal procedural rule or local rule of the

Court and any supplementary disclosures thereto.

       This Protective Order shall apply to the parties and to any nonparty from whom discovery

may be sought who desires the protection of this Protective Order.

       2.       Definitions

       The term Confidential Information shall mean confidential or proprietary technical,

scientific, financial, business, health, or medical information designated as “CONFIDENTIAL”

by the producing party.

       The term Confidential Health Information shall constitute a subset of Confidential

Information, and shall be designated as “CONFIDENTIAL” and subject to all other terms and

conditions governing the treatment of Confidential Information. Confidential Health Information

shall mean information supplied in any form, or any portion thereof, that identifies an individual

or subscriber in any manner and relates to the past, present, or future care, services, or supplies

relating to the physical or mental health or condition of such individual or subscriber, the provision

of health care to such individual or subscriber, or the past, present, or future payment for the

provision of health care to such individual or subscriber. Confidential Health Information shall

include, but is not limited to, claim data, claim forms, grievances, appeals, or other documents or

records that contain any patient health information required to be kept confidential under any state

or federal law, including 45 C.F.R. Parts 160 and 164 promulgated pursuant to the Health

Insurance Portability and Accountability Act of 1996 (see 45 C.F.R. §§ 164.501 & 160.103), and

the following subscriber, patient, or member identifiers:

       a.       names;




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       b.       all geographic subdivisions smaller than a State, including street address, city,
                county, precinct, and zip code;

       c.       all elements of dates (except year) for dates directly related to an individual,
                including birth date, admission date, discharge date, age, and date of death;

       d.       telephone numbers;

       e.       fax numbers;

       f.       electronic mail addresses;

       g.       social security numbers;

       h.       medical record numbers;

       i.       health plan beneficiary numbers;

       j.       account numbers;

       k.       certificate/license numbers;

       l.       vehicle identifiers and serial numbers, including license plate numbers;

       m.       device identifiers and serial numbers;

       n.       web universal resource locators (“URLs”);

       o.       internet protocol (“IP”) address numbers;

       p.       biometric identifiers, including finger and voice prints;

       q.       full face photographic images and any comparable images; and/or

       r.       any other unique identifying number, characteristic, or code.

       The term Technical Advisor shall refer to any person who is not a party to this action or

not presently employed by the receiving party or a company affiliated through common ownership,

who has been designated by the receiving party to receive another party’s Confidential

Information, including Confidential Health Information. Each party’s Technical Advisors shall be

limited to such person as, in the judgment of that party’s counsel, are reasonably necessary for

development and presentation of that party’s case. These persons include outside experts or


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consultants retained to provide technical or other expert services such as expert testimony or

otherwise assist in trial preparation.

        3.       Designation of Information

        Documents and things produced or furnished during the course of this action shall be

designated as containing Confidential Information, including Confidential Health Information, by

placing on each page, each document (whether in paper or electronic form), or each thing a legend

substantially as follows:

                                         CONFIDENTIAL

        A party may designate information disclosed at a deposition as Confidential Information

by requesting the reporter to so designate the transcript at the time of the deposition.

        A producing party shall designate its discovery responses, responses to requests for

admission, briefs, memoranda and all other papers sent to the court or to opposing counsel as

containing Confidential Information when such papers are served or sent.

        A party shall designate information disclosed at a hearing or trial as Confidential

Information by requesting the court, at the time the information is proffered or adduced, to receive

the information only in the presence of those persons designated to receive such information and

court personnel, and to designate the transcript appropriately.

        The parties will use reasonable care to avoid designating any documents or information as

Confidential Information that is not entitled to such designation or which is generally available to

the public. The parties shall designate only that part of a document or deposition that is

Confidential Information, rather than the entire document or deposition.

        4.       Disclosure and Use of Confidential Information

        Information that has been designated Confidential shall be disclosed by the receiving party

only to Qualified Recipients. All Qualified Recipients shall hold such information received from

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the disclosing party in confidence, shall use the information only for purposes of this action and

for no other action, and shall not use it for any business or other commercial purpose, and shall

not use it for filing or prosecuting any patent application (of any type) or patent reissue or

reexamination request, and shall not disclose it to any person, except as hereinafter provided. All

information that has been designated Confidential shall be carefully maintained so as to preclude

access by persons who are not qualified to receive such information under the terms of this Order.

       In the event that any receiving party’s briefs, memoranda, discovery requests, requests for

admission or other papers of any kind which are served or filed shall include another party’s

Confidential Information, the papers shall be appropriately designated and shall be treated

accordingly.

       All documents, including attorney notes and abstracts, which contain another party’s

Confidential Information, shall be handled as if they were designated pursuant to paragraph 3.

       Documents, papers and transcripts filed with the court that contain any other party’s

Confidential Information shall be filed under seal.

       5.       Qualified Recipients

       For purposes of this Order, the term Qualified Recipient means

       a.       Outside counsel of record for any party in this action, as well as employees of such
                counsel (excluding experts and investigators) assigned to and necessary to assist
                such counsel in the preparation and trial of this action;

       b.       Representatives, officers, or employees of a party as necessary to assist outside
                counsel in the preparation and trial of this action;

       c.       Witnesses who testify by deposition or at trial who, if not a representative, officer,
                or employee of a party, shall be advised about the terms of this Order and that such
                Order is applicable to them in connection with their testimony and do not retain
                copies of Confidential Information;

       d.       Persons who were authors or recipients of the Confidential Information or
                previously had legal access to Confidential Information;



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        e.       Technical Advisors, expert witnesses, or consultants engaged by a party to assist
                 with the preparation and trial of this action provided such expert or consultant
                 agrees in writing, in the form attached at Appendix A, to be bound by the terms of
                 this Order;

        f.       Any designated arbitrator or mediator who is assigned to hear this matter, or who
                 has been selected by the parties, and his or her staff, provided that such individuals
                 agree in writing, in the form attached at Appendix A, to be bound by the terms of
                 this Order;

        g.       Stenographers and videographers engaged to transcribe or record depositions
                 conducted in this action provided that such individuals agree in writing, in the form
                 attached at Appendix A, to be bound by the terms of this Order; and

        h.       The Court and its support personnel.

        6.       Nonparties

        Any nonparty who produces documents or other information in response to discovery

requests or subpoenas in this litigation shall be entitled to the benefits and protections of this Order

and shall be entitled to seek additional protections.

        The parties agree that they will treat Confidential Information produced by nonparties

according to the terms of this Order.

        Nonparties may challenge the confidentiality of Confidential Information by filing a

motion to intervene and a motion to de-designate.

        7.       Inadvertent Failure to Designate

        In the event that a producing party inadvertently fails to designate any of its information

pursuant to paragraph 3, it may later designate by notifying the receiving parties in writing. The

receiving parties shall take reasonable steps to see that the information is thereafter treated in

accordance with the designation.

        It shall be understood however, that no person or party shall incur any liability hereunder

with respect to disclosure that occurred prior to receipt of written notice of a belated designation.




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       8.      Inadvertent Disclosure

       In the event of an inadvertent disclosure of another party’s Confidential Information to a

non-Qualified Recipient, the party making the inadvertent disclosure shall promptly upon learning

of the disclosure: (i) notify the person to whom the disclosure was made that it contains

Confidential Information subject to this Order; (ii) make all reasonable efforts to preclude

dissemination or use of the Confidential Information by the person to whom disclosure was

inadvertently made including, but not limited to, obtaining all copies of such materials from the

non-Qualified Recipient; and (iii) notify the producing party of the identity of the person to whom

the disclosure was made, the circumstances surrounding the disclosure, and the steps taken to

ensure against the dissemination or use of the information.

       9.      Challenge to Designation

       At any time after the delivery of Confidential Information, counsel for the party receiving

the Confidential Information may challenge the designation of all or any portion thereof by

providing written notice thereof to counsel for the party disclosing or producing the Confidential

Information. If the parties are unable to agree as to whether the confidential designation of

discovery material is appropriate, the party receiving the Confidential Information shall certify to

the Court that the parties cannot reach an agreement as to the confidential nature of all or a portion

of the Confidential Information. Thereafter, the party disclosing or producing the Confidential

Information shall have ten days from the date of certification to file a motion for protective order

with regard to any Confidential Information in dispute. The party producing the Confidential

Information shall have the burden of establishing that the disputed Confidential Information is

entitled to confidential treatment. If the party producing the Confidential Information does not

timely file a motion for protective order, the Confidential Information in dispute shall no longer

be subject to confidential treatment as provided in this Order. All Confidential Information is

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entitled to confidential treatment pursuant to the terms of this Order until and unless the parties

formally agree in writing to the contrary, a party fails to timely move for a protective order, or a

contrary determination is made by the Court as to whether all or a portion of designated

Confidential Information is entitled to confidential treatment.

       10.     Conclusion of Action

       At the conclusion of this action, including through all appeals, each party or other person

subject to the terms hereof shall be under an obligation to destroy or return to the producing party

all materials and documents containing Confidential Information and to certify to the producing

party such destruction or return. Such return or destruction shall not relieve said parties or persons

from any of the continuing obligations imposed upon them by this Order.

       The provisions of this paragraph shall not be binding on the United States, any insurance

company, or any other party to the extent that such provisions conflict with applicable Federal or

State law. The Department of Justice, any insurance company, or any other party shall notify the

producing party in writing of any such conflict it identifies in connection with a particular matter

so that such matter can be resolved either by the parties or by the Court.

       11.     Jurisdiction to Enforce Protective Order

       After the termination of this action, the Court will continue to have jurisdiction to enforce

this Order.

       12.     Modification of Protective Order

       This Order is without prejudice to the right of any person or entity to seek a modification

of this Order at any time either through stipulation or Order of the Court.

       13.     Confidentiality of Party’s Own Documents

       Nothing herein shall affect the right of the designating party to disclose to its officers,

directors, employees, attorneys, consultants or experts, or to any other person, its own information.

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Such disclosure shall not waive the protections of this Protective Order and shall not entitle other

parties or their attorneys to disclose such information in violation of it, unless by such disclosure

of the designating party the information becomes public knowledge. Similarly, the Protective

Order shall not preclude a party from showing its own information, including its own information

that is filed under seal by a party, to its officers, directors, employees, attorneys, consultants or

experts, or to any other person.

        14.     Compulsory Disclosure to Third Parties

        If any receiving party is subpoenaed in another action or proceeding or served with a

document or testimony demand or a court order, and such subpoena or demand or court order seeks

Confidential Information, including Confidential Health Information of a producing party, the

receiving party shall give prompt written notice to counsel for the producing party and allow the

producing party an opportunity to oppose such subpoena or demand or court order prior to the

deadline for complying with the subpoena or demand or court order. No compulsory disclosure

to third parties of information or material exchanged under this Order shall be deemed a waiver of

any claim of confidentiality, except as expressly found by a court or judicial authority of competent

jurisdiction.

        15.     Binding Effect

        This Order shall be binding upon the parties and their attorneys, successors, executors,

personal representatives, administrators, heirs, legal representatives, assigns, subsidiaries,

divisions, employees, agents, independent contractors, or other persons or organizations over

which they have control.
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                Signed this ______            April
                                   day of ________________, 2020.


                                                      ______________________________
                                                      Edgardo Ramos, U.S. District Judge

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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK

 PERRY A. FRANKEL, M.D. AND
 ADVANCED CARDIOVASCULAR
 DIAGNOSTICS, PLLC,                                  Civil Action No.: 1:18-cv-06378-
                                                     ER-BCM
                      Plaintiffs,

 v.

 U.S. HEALTHCARE, INC. d/b/a AETNA U.S.
 HEALTHCARE, INC. d/b/a AETNA HEALTH,
 INC., AND AETNA, INC. d/b/a AETNA.

                      Defendants.


                                   Appendix A
                         PROTECTIVE ORDER UNDERTAKING


I,                                                  , declare that:

1.    My address is                                                                        .

      My current employer is                                                               .

      My current occupation is                                                             .

2.    I have received a copy of the Protective Order in this action. I have carefully read and

      understand the provisions of the Protective Order.

3.    I will comply with all of the provisions of the Protective Order and agree to be bound by

      the Protective Order. I will hold in confidence, will not disclose to anyone not qualified

      under the Protective Order, and will use only for purposes of this action any Confidential

      Information or information designated as “Confidential” that is disclosed to me.

4.    Promptly upon termination of the relevant action, I will either return in full to the outside

      counsel for the party by whom I am employed or completely destroy all documents and




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       things designated as “Confidential” that came into my possession, and all documents and

       things that I have prepared relating thereto.

5.     I understand that the obligations of this undertaking and the provisions of the Protective

       Order continue past the termination of the action.

6.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

       Protective Order in this action.

I declare under penalty of perjury that the foregoing is true and correct.




                                       Signature

                                       Date




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